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IN THE UNITED STATES DISTRICT COURT

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ELECTRIC INSURANCE COMPANY, )
Plaintiff, §
v. § No. 04-3015 Ml/P
NATIONWIDE MUTUAL INSURANCE §
COMPANY, )
Defendant. §

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MDTION TO
DISMISS

 

Before the Court is Defendant Nationwide Mutual Insurance
Company’s Fed. R. Civ. P. 12(b)(6} Motion to Dismiss Complaint,
filed February ll, 2005. Plaintiff filed an opposition on March
8, 2005. For the following reasons, Defendant’s motion is
GRANTED in part and DENIED in part.

I. BACKGROUND AND RELEVANT FACTS

The instant case is an action brought by Plaintiff Electric
Insurance Company {“EIC”) against Defendant Nationwide Mutual
Insurance Company (“Nationwide”) relating to Defendant's alleged
failure to settle an insurance claim within the policy limit.
Defendant moves to dismiss Plaintiff's Complaint in its entirety
under Federal Rule of Civil Procedure lZ(b)(6) for failure to

state a claim upon which relief may be granted.

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with Hu:e 58 and/or 79(3) FHCP on 545 ;@ /

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According to Plaintiff’s Complaint, both parties to this
case provided liability insurance coverage to George C. Masterson
(“Mr. Masterson”), a resident of Shelby County, Tennessee.
Nationwide was Mr. Masterson's primary insurance carrier and
provided coverage up to a policy limit of $500,000. EIC provided
excess insurance coverage above that amount to Mr. Masterson.

In late 2002, Mr. Masterson was sued in the Circuit Court
for Shelby County, Tennessee for personal injuries sustained in
an automobile accident. In that suit, the plaintiff sought
$l,OO0,000 in damages from Mr. Masterson. Nationwide retained
counsel to represent Mr. Masterson and defend against the suit.
Mr. Masterson did not retain his own counsel and relied entirely
on Nationwide and the attorneys it retained to advise and defend
this suit.

Prior to the state court trial, Nationwide decided,
allegedly over Mr. Masterson's objection, to admit liability and
litigate the case solely on the issue of damages. Plaintiff
contends that, during the course of trial, Nationwide was
presented with the opportunity to settle the suit for an amount
within the coverage limit of the Nationwide insurance policy.
Plaintiff also contends that Mr. Masterson was not advised of the
opportunity to settle for an amount within the Nationwide policy
limit until after the trial was over. EIC, however, learned of

this opportunity and repeatedly demanded that Nationwide settle

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the case within the policy limit. Nonetheless, Nationwide did
not settle the case and the jury rendered a verdict against Mr.
Masterson in the amount of $700,000. Nationwide paid $500,000 of
that judgment pursuant to its insurance policy.

EIC, under its excess insurance policy with Mr. Masterson,
negotiated a final resolution of the remaining claims against Mr.
Masterson for $185,000. Pursuant to that resolution, EIC took an
assignment of any and all claims Mr. Masterson might have against
Nationwide arising from its handling of the state court case.

II. STANDARD OF REVIEW

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure 12(b)(6). When considering a Rule
12(b)(6) motion, a court must treat all of the well~pleaded
allegations of the complaint as true. Savlor v. Parker Seal Co.,
975 F.2d 252, 254 (6th Cir. 1992). Furthermore, the court must
construe all of the allegations in the light most favorable to
the non-moving party. Scheuer v. Rhodes, 416 U.S. 232, 236
(1974). “A court may dismiss a [claim under Rule lZ(b}(€)] only
if it is clear that no relief could be granted under any set of
facts that could be proved consistent with the allegations.”

Hishon v. Kinq & SDalding, 467 U.S. 69, 73 (1984).

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III. ANALYSIS

Defendant moves to dismiss Plaintiff’s Complaint in its
entirety because a claim for failure to settle an insurance claim
in bad faith is allegedly not assignable, and because Tennessee
law does not recognize any duty owed by a primary insurance
carrier to an excess insurance carrier. Plaintiff contends that
such claims are assignable under Tennessee law; that this Court
should recognize a duty owed by a primary insurance carrier to an
excess carrier; or, alternatively, that the Court should only
_dismiss certain counts of the Complaint to which Defendant’s
contentions relate. Plaintiff’s Complaint asserts five separate
counts, which the Court will address in turn.

Count One of Plaintiff's Complaint asserts, based upon Mr.
Masterson's assignment of the claim to EIC, that Nationwide
breached its duty of good faith to Mr. Masterson by failing to
settle his claim within the Nationwide policy limit. A cause of
action against an insurer for alleged bad faith or negligence in
refusing to settle an insurance claim within the policy limit,
however, is not assignable under Tennessee law. Dillingham v.
Tri-State Ins. Co., 381 S.W.Zd 914, 917-19 (Tenn. 1964); Qg§e§_y;
Castle, 1985 Tenn. App. LEXIS 2592 at *15 (Tenn Ct. App. Jan. 10,

1985).1 Mr. Masterson's claim for bad faith failure to settle an

 

1 Plaintiff cites Can Do, Inc. v. Manier, Herod, Hollabaugh
and Smith, 922 S.W.Zd 865 (Tenn Ct. App. 1996), for the premise
(continued...)

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insurance claim within the policy limit is therefore not
assignable. Accordingly, Defendant’s motion to dismiss Count One
of Plaintiff's Complaint is GRANTED and Count One of Plaintiff's
Complaint is DISMISSED.

Count Two of Plaintiff's Complaint asserts that the
insurance policy issued by EIC to Mr. Masterson provides EIC a
right of subrogation to pursue any claims Mr. Masterson might
have against a third party, including Nationwide. In its motion
to dismiss, Defendant contends that a claim for bad faith failure
to settle an insurance claim may not be assigned. A right to
subrogation, however, is not an assignment. Almanv v. Nationwide

Ins. Co., No. 85-341-11, 1987 Tenn. App. LEXIS 2460, *13 (Tenn.

 

Ct. App. Jan. 29, l987)(citing Wilson v. Tennessee Farmers Mutual
Ins. Co., 411 S.W. 2d 699, 701 (Tenn. 1966)). Rather,
subrogation is “an equitable doctrine designed to obtain
substantial justice and to prevent wrongdoing” that “arises when

a person, even if for his own benefit, pays a debt for which

 

(...continued)

that the rule against assignment of causes of action is the
exception and that assignability is the general rule. 922 S.W.Zd
at 867. However, although the Can Do Court noted that “contract-
based chose[s] in action, except those involving matters purely
personal in nature, [are] assignable” and that “[t]ort actions
involving injuries to property are also assignable," 922 S.W.2d
at 867 (citations omitted), the Court specifically recognized
that, under Tennessee law, “tort actions involving personal
injuries and wrongs done to the person, reputation, or feelings
of the injured party continue to be unassignable.” ld;
(citations omitted). Accordingly, the Can Do decision did not
alter the Tennessee Supreme Court’s holding in Dillingham.

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another is also liable.” lg; at *12-13 (citations omitted). An
insurer is generally subrogated to the rights its insured had
against others when the insurer pays its insured’s claim. ida
(citing Lancaster Mills v. Merchants Cotton-Press & Storage Co.,
14 S.W. 317, 330 (Tenn. 1890)). Here, Plaintiff alleges that
those rights include the right to subrogation regarding
Plaintiff's claim against Nationwide for bad faith failure to
settle within Plaintiff's policy limits. In its motion to
dismiss, Defendant makes no argument and points to no legal
authority regarding the propriety of EIC's asserted contractual
right of subrogation. Accordingly, Defendant’s motion to dismiss
Count Two of Plaintiff's Complaint is DENIED.

Count Three of Plaintiff's Complaint asserts that Nationwide
owed EIC a duty to settle Mr. Masterson's state court litigation
within the Nationwide policy limit, that Nationwide breached that
duty, and that Nationwide acted in bad faith in breaching that
duty. ln determining whether a cause of action exists under
Tennessee law, this Court looks to the precedents of the
Tennessee Supreme Court and the Tennessee Courts of Appeal. §ee
Arnett v. Myers, 281 F.3d 552, 565 (6th Cir. 2002). Plaintiff
concedes, however, that no authority exists under Tennessee law
for the premise that a primary insurance carrier owes any duty to
an excess insurance carrier to settle a claim within the primary

insurance carrier’s policy limit. (Pl.'s Mem. in Opp. to Def.’s

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Mot. to Dismiss at 3.) Accordingly, Defendant’s motion to
dismiss Count Three of Plaintiff's Complaint is GRANTED and Count
Three is DISMISSED.

Count Four of Plaintiff's Complaint alleges that Nationwide
failed in bad faith to pay EIC, as the assignee of Mr. Masterson,
$185,000 paid out pursuant to the excess insurance policy and
therefore that Nationwide is subject to a statutory penalty
pursuant to Tennessee Code Annotated 56-7-105(a).2 However, as
the Court has noted, claims for bad faith failure to settle

insurance claims are not assignable under Tennessee law.

 

2 Tennessee Code Annotated § 56-7-105 is titled “Additional
liability upon insurers and bonding companies for bad-faith
failure to pay promptly” and provides, in relevant part, as
follows:

(a) The insurance companies of this state, and foreign
insurance companies and other persons or corporations
doing an insurance or fidelity bonding business in this
state, in all cases when a loss occurs and they refuse
to pay the loss within sixty (60) days after a demand
has been made by the holder of the policy or fidelity
bond on which the loss occurred, shall be liable to pay
the holder of the policy or fidelity hond, in addition
to the loss and interest thereon, a sum not exceeding
twenty-five percent {25%) on the liability for the
loss; provided, that it is made to appear to the court
or jury trying the case that the refusal to pay the
loss was not in good faith, and that such failure to
pay inflicted additional expenseh loss, or injury
including attorney fees upon the holder of the policy
or fidelity bond; and provided further, that such
additional liability, within the limit prescribed,
shall, in the discretion of the court or jury trying
the case, be measured by the additional expense, loss,
and injury including attorney fees thus entailed.

Tenn. Code Ann. § 56-7-105.

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Dillingham, 381 S.W.Zd at 917-19; Quhes, 1985 Tenn. App. LEXIS
2592 at *15. Accordingly, Defendant’s motion to dismiss Count
Four of Plaintiff's Complaint is GRANTED and Count Four is
DISMISSED.

Count Five of Plaintiff's Complaint asserts that Defendant
is liable to Plaintiff based upon Mr. Masterson’s assignment of a
claim that Defendant committed unfair and deceptive practices in
violation of the Tennessee Consumer Protection Act, Tennessee
Code Annotated § 47-18-109 et Seq. In particular, Plaintiff
contends that Nationwide “failed to satisfy its duty of trust
towards Masterson” by not advising Mr. Masterson of settlement
discussions and offers regarding the state court litigation -
specifically that the state court litigation could have been
Settled within the Nationwide policy limit. (See Pl.'s Compl. l
36.)

The parties point to, and the Court has found, no authority
supporting Plaintiff's contention that claims under the Tennessee
Consumer Protection Act are assignable. Moreover, as noted by
the Can Do Court, “tort actions involving personal injuries and
wrongs done to the person, reputation, or feelings of the injured
party [are] unassignable” under Tennessee law. gan_Qg, 922
S.W.2d at 867 (citations omitted). Additionally, Plaintiff's
assignment theory has already been rejected as to Counts One and

Four of Plaintiff's Complaint. For the Court to then allow an

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insured's asserted functionally equivalent cause of action under
the Tennessee Consumer Protection Act to be assigned, in the face
of the clear direction of the Tennessee Courts, would recognize
an exception in the Tennessee law that subsumes the Tennessee
rule. Accordingly, Defendant's motion to dismiss Count Five of
Plaintiff's Complaint is GRANTED and Count Five is DISMISSED.
IV. CONCLUSION

For the reasons stated, Defendant’s motion to dismiss
Plaintiff's Complaint is GRANTED in part and DENIED in part.
Defendant’s motion to dismiss is GRANTED as to Counts One, Three,
Four, and Five of Plaintiff's Complaint. Accordingly, those
claims are DISMISSED. Defendant's motion to dismiss is DENIED,

however, as to Count Two of Plaintiff's Complaint.

So ORDERED this 11 day of August, 2005.

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JoN P. MccALLA
uN ED sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-03015 Was distributed by fax, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

